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11
12                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
13
14   GABRIELA BRILEY,                      )   Case No. 5:16-cv-01531-GHK-DTB
15                                         )
     Plaintiff,                            )   FIRST AMENDED COMPLAINT
16                                         )   FOR VIOLATIONS OF:
17          vs.                            )
                                           )      1.   FAIR DEBT COLLECTION
18                                                     Fair Debt Collection
     NATIONAL CREDIT SYSTEMS,              )           Practices Act, 15 U.S.C. §
19   INC.,                                 )           1692, et seq..]
                                           )      2.   VIOLATIONS OF THE
20                                                     ROSENTHAL FAIR DEBT
     Defendant.                            )           COLLECTION PRACTICES
21                                         )           ACT [CAL. CIV. CODE
                                           )           §1788 ET SEQ.]
22
                                           )
23                                         )   DEMAND FOR JURY TRIAL
24                                         )
25
26          Plaintiff GABRIELA BRILEY (“Plaintiff”) alleges the following against
27   Defendant NATIONAL CREDIT SYSTEMS, INC. (“Defendant”) upon
28   information and belief based upon personal knowledge:


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 1                                   INTRODUCTION
 2         1.      Plaintiff also brings an action for damages as an individual consumer
 3   for Defendant’s violations of the federal Fair Debt Collection Practices Act, 15
 4   U.S.C. §1692, et seq. (hereinafter “FDCPA”) and the Rosenthal Fair Debt
 5
     Collection Practices Act, Cal. Civ. C. §1788, et seq. (hereinafter “RFDCPA”)
 6
     which prohibit debt collectors from engaging in abusive, deceptive, and unfair
 7
     practices.
 8
                               JURISDICTION AND VENUE
 9         2.      Jurisdiction is proper under 28 U.S.C. § 1331 because this Matter
10
     arises out of a question of federal law, in particular the federal Fair Debt Collection
11
     Practices Act, 15 U.S.C. § 1692, et. seq. The Court has supplemental jurisdiction
12
     over Plaintiff’s Rosenthal Fair Debt Collection Practices Act, Cal. Civ. C. § 1788
13
     claim pursuant to 28 U.S.C. 1367.
14
           3.      Venue is proper in the United States District Court for the CENTRAL
15
     District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
16
     because Defendant does business within the State of California and Plaintiff resides
17
18
     within this District.

19                                        PARTIES
20         4. Plaintiff, Gabriela Briley (“PLAINTIFF”), is a natural person residing in
21   San Bernardino County in the state of California, and is a “consumer” as defined
22   by the FDCPA, 15 U.S.C. §1692a(3), and is a “debtor” as defined by Cal. Civ. C.
23   §1788.2(h).
24
           5. At all relevant times herein, DEFENDANT, NATIONAL CREDIT
25
     SYSTEMS, INC. (“DEFENDANT”), was a company engaged, by use of the mails
26
     and telephone, in the business of collecting a debt from PLAINTIFF which
27
     qualifies as a “debt,” as defined by 15 U.S.C. §1692a(5). DEFENDANT regularly
28



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 1   attempts to collect debts alleged to be due another, and therefore is a “debt
 2   collector” as defined by the FDCPA, 15 U.S.C. §1692a(6) and the RFDCPA, Cal.
 3   Civ. C. §1788.2(c).
 4         6. Defendant acted through its agents, employees, officers, members,
 5
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 6
     representatives, and insurers.
 7
                               FACTUAL ALLEGATIONS
 8
           7. At various times prior to the filing of the instant complaint, including
 9
     within one year preceding the filing of this complaint, DEFENDANT contacted
10
     PLAINTIFF in an attempt to collect an alleged outstanding debt.
11
           8. On or about January of 2016, Plaintiff began receiving numerous calls
12
     from Defendant in an attempt to collect on an alleged outstanding debt.
13
14
           9. Defendant called Plaintiff multiple times a day and at times at least

15   twelve calls a month.     On several occasions, Plaintiff told Defendant to stop

16   calling her.
17         10.Despite this, Defendant continued to call Plaintiff in an attempt to collect
18   on an alleged debt.
19         11.DEFENDANT’S conduct violated the FDCPA and RFDCPA in multiple
20   ways, including but not limited to:
21
22             a) Causing a telephone to ring repeatedly or continuously to annoy
                  Plaintiff (Cal. Civ. C. § 1788.11(d));
23
24             b) Communicating, by telephone or in person, with Plaintiff with such
                  frequency as to be unreasonable and to constitute an harassment to
25
                  Plaintiff under the circumstances (Cal. Civ. C. § 1788.11(e));
26
27             c) Causing Plaintiffs telephone to ring repeatedly or continuously with
                  intent to harass, annoy or abuse Plaintiff (15 U.S.C. § 1692d(5));
28



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 1               d) Communicating with Plaintiff at times or places which were known
                    or should have been known to be inconvenient for Plaintiff (15
 2                  U.S.C. §1692c(a)(1)); and
 3
                 e) Engaging in conduct the natural consequence of which is to harass,
 4
                    oppress, or abuse Plaintiff (15 U.S.C. § 1692d)).
 5
 6         12.Further, the RFDCPA under Cal. Civ. C. § 1788.17 incorporates the
 7   remedies and obligations of 15 U.S.C. § 1692b-j such that a violation of the
 8   FDCPA is also a violation of the RFDCPA.
 9         13.As a result of the above violations of the FDCPA and RFDCPA, Plaintiff
10   suffered and continues to suffer injury to PLAINTIFF’S feelings, personal
11
     humiliation, embarrassment, mental anguish and emotional distress, and
12
     DEFENDANT is liable to PLAINTIFF for PLAINTIFF’S actual damages,
13
     statutory damages, and costs and attorney’s fees.
14
                                 FIRST CAUSE OF ACTION
15
              Violations of the Federal Fair Debt Collection Practices Act
16
                                     15 U.S.C. § 1692 et seq.
17         14.      Plaintiff repeats and reincorporates by reference into this cause of
18   action allegations set forth above at paragraphs 1-13.
19
           15.      To the extent that Defendant’s actions, counted above, violated the
20
     FDCPA, those actions were done knowingly and willfully.
21
                            SECOND CAUSE OF ACTION
22
            Violations of the Rosenthal Fair Debt Collection Practices Act
23
                                 Cal. Civ. Code § 1788 et seq.
24
           16.      Plaintiff repeats and reincorporates by reference into this cause of
25
     action allegations set forth above at paragraphs 1-13.
26
           17.      To the extent that Defendant’s actions, counted above, violated the
27
28
     RFDCPA, those actions were done knowingly and willfully.



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 1                                PRAYER FOR RELIEF
 2    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 3                              FIRST CAUSE OF ACTION
 4            Violations of the Federal Fair Debt Collection Practices Act
 5                          15 U.S.C. § 1692 et seq.
 6   WHEREFORE, Plaintiff respectfully prays that judgment be entered against

 7   Defendant for the following:
 8
 9                A.     Actual damages;
10                B.     Statutory damages for willful and negligent violations;
11                C.     Costs and reasonable attorney’s fees,
12                D.     For such other and further relief as may be just and proper.
13                              SECOND CAUSE OF ACTION
14           Violations of the Rosenthal Fair Debt Collection Practices Act
15                       Cal. Civ. Code § 1788 et seq.
16   WHEREFORE, Plaintiff respectfully prays that judgment be entered against
17   Defendant for the following:
18                A.     Actual damages;
19
                  B.     Statutory damages for willful and negligent violations;
20
                  C.     Costs and reasonable attorney’s fees,
21
                  D.     For such other and further relief as may be just and proper.
22
                                      TRIAL BY JURY
23
           Pursuant to the seventh amendment to the Constitution of the United States
24
25
     of America, Plaintiff is entitled to, and demands, a trial by jury.

26
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 1               Respectfully submitted this 21st day of December, 2016.

 2
                             LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3
                             By:   /s/ Todd M. Friedman
 4                                 Todd M. Friedman
 5                                 Law Offices of Todd M. Friedman
                                   Attorney for Plaintiff
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                               FIRST AMENDED COMPLAINT
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